 

Case 2:17-CV-01874-RA.] Document 11 Filed 03/16/18 Page 1 of 2

A() 120 [Rcv, 08!10)

 

TO_ Mai| Stgp 3 REPORT ON THE
` Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN
P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1451] TRA[)EMARK

 

 

 

in Compliancc with 35 U.S.C, § 290 and)’or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. Disirici Conrl WeStem DiStr`iCt Of WaShing'[On on ihe following

[E Trademarks or :I Patents. ( [l lhc patent action involves 35 U.S.C. §292.):

 

 

 

 

 

 

 

 

 

 

 

DOCKE'l' NO. DA'l'l;' HLBD U.S. DlS'l'RIC'l' COUR']'
2:1?-cv-01874 12!15!2017 Western District of Washington
PI.AINTIFF DEFENI)ANT
M|CROSOFT CORPORAT|ON, a Washington JOHN DOES 1-10
corporation
PATENT ()R DATE OF PATENT , s .
TRADEMARK NO. OR TRADEMARK HOLDER OF PA ibm OR TRADEMARK
l See Exhibit A
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ln the above_entiiled case, the following patent{s)l trademark{s) have been ineluded:

 

 

 

 

 

 

 

DATE l`NCLUDED I`NCLUDED BY
I:I Amendment I:I Answer EI Cross Bill Ij Olher Pleading
_l.RAP;l;-EH;TR(§RNO- %;§T.F[:;FD;/;;]r:§; HOLDER OF PATENT OR TRADEMARK

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ln the abovc-entitlcd casc. the following decision has been rendered orjudgcmcnt issucd:

 

DECISION;JUDGEMENT
Case dismissed per P|aintiff's Notice of Vo|untary Dismissa|.

 

 

ci_F.Ri< rim DEPuTY C1_.ERi< DATF.
Wi||iam McCoo| S/ Tomas Hernandez 3116!2018

 

 

 

 

 

Copy l_Upon initiation of action. mail this copy to Director Copy 3_U pon termination of aetion. mail this copy to Director
Copy Z_Upon !'lling document adding patent{s), mail this copy to Director Copy 4_Case l`lle copyr

Case 2:17-CV-01874-RA.] Document 11 Filed 03/16/18 Page 2 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit A
'l`rademark No. Date of Trademark Holder of Trademark

1 1,200,236 July 6, 1982 Microsoft

2 1,872,264 January 10, 1995 Microsoft Corporation
3 2,153,'}'63 April 28, 1998 Microsoft Corporation
4 2,188,125 September 8, 1998 Microsoft Corporation
5 2,600,020 July 30, 2002 Microsoft Corporation
6 2,698,179 March 18, 2003 Microsoft Corporation
T 2,902,268 November 9, 2004 Microsoft Corporation
8 3,9?5,040 June ')', 2011 Microsoft Corporation
9 4,185,310 August '}’, 2012 Microsofi Corporation
10 4,355,446 June 18, 2013 Microsoft Corporation
11 4,423,056 OCtober 22, 2013 Microsoft Corporation
12 4,456,462 December 24, 2013 Microsof’t Corporation
13 4,459,826 December 31, 2013 Microsoft Corporation
14 4,4?1,469 .lanuary 21, 2014 Microsoft Corporation
15 4,491,851 March 4, 2014 Microsoft Corporation
16 4,552,363 June 17, 2014 Microsoft Corporation
17 4,560,82? July 1, 2014 Microsoft Corporation
18 4,696,736 March 3, 2015 Microsoft Corporation
19 4,827,884 Octobcr 6, 2015 Microsoft Corporation
20 5,063,048 October 18, 2016 Microsoft Corporation
21 5,064,438 October 18, 2016 Microsoft Corporation
22 5,092,814 November 29, 2016 Microsoft Corporation
23 5,1 10,?18 December 27, 2016 Microsoft Cor'poration

 

 

 

 

 

